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     Federal Defenders of Eastern Washington and Idaho
2
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4
     Attorneys for Trina Marie Welch
5

6                       UNITED STATES DISTRICT COURT
                             DISTRICT OF IDAHO
7
                           The Honorable David C. Nye
8
     United States of America,                       No. 2:20-cr-0052-DCN-1
9
                      Plaintiff,                     Defense’s Response in Opposition
10
        v.                                           to Petition to Unseal Exhibits
                                                     and Records for Use in Civil Case
11
     Trina Marie Welch,
12
                      Defendant.
13

14           Trina Marie Welch, through counsel, J. Stephen Roberts, Jr., for the

15   Federal Defenders of Eastern Washington and Idaho, files this response in
16   opposition to Keith Sims and Kasco of Idaho, LLC’s Petition to Unseal
17
     Exhibits and Records for Use in Civil Case. 1
18

19

20

21

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23
             1   ECF No. 95.
24                         Response in Opposition to Petition to Unseal

                                                 1
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1            Ms. Welch respectfully requests the Court deny the Petition to Unseal
2
     Exhibits from her criminal case, specifically objecting to unsealing numerous
3
     personal character statements submitted on her behalf at sentencing.
4
                                    Legal Standard
5
             Historically, courts have acknowledged a “general right to inspect and
6

7    copy public records and documents, including judicial records and

8    documents.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 & n.7 (1978).
9
     This presumption of permissible access to judicial records applies to
10
     dispositive pleadings, namely because disclosure of a “resolution of a dispute
11
     on the merits […] is at the heart of the interest in ensuring the ‘public’s
12
     understanding of the judicial process and of significant public events.’”
13

14   Kamakana v. City & Cnty of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006).

15   However, the presumption of access does not apply for a “sealed discovery
16
     document” linked to a non-dispositive motion.
17
             The standard that must be met to warrant unsealing judicial records
18
     is determined by whether the exhibits or records sought are related to
19
     dispositive or non-dispositive pleadings and attachments. For dispositive
20

21   motions, the “compelling reasons” standard must be met: the party must

22   “articulate[ ] compelling reasons supported by specific factual findings”. Foltz
23
     v. State Farm Mutual Auto. Insurance Company, 331 F.3d 1122, 1135 (9th
24                      Response in Opposition to Petition to Unseal

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1    Cir. 2003). For non-dispositive motion, only a “good cause” standard must be
2
     met, as outlined in Fed. R. Civ. P. 26(c). 2 See Kamakana, 447 F.3d at 1180.
3
                                           Discussion
4
               Attorney Jack Mosby provides no basis for good cause to unseal the
5
     exhibits and records sought. As a practicality, Mr. Mosby has other
6

7    remedies—more appropriate remedies to pursue discovery for the civil case

8    against Trina and Norman Welch. Instead, Mr. Mosby attempts to make an
9
     end-run around the discovery procedure already available to him in the
10
     matter of Shoshone County Case No. CV 40-19-0372 for the sake of his own
11
     convenience and organizational efficiency.
12
                1.   Exhibits of confidential financial records to the evidentiary
13
                     hearing on August 3, 2022.
14
              The United States moved to seal exhibits of checks submitted for the
15
         August 3, 2022 evidentiary hearing, which the Court granted. See ECF Nos.
16

17       68, 70. The United States does not object to the request to now unseal these

18       exhibits. See ECF No. 97. Given the requested exhibits were provided by the

19       United States, Defense does not have a position on this request to unseal.
20

21

22
     2Rule 26(c) states that if “good cause” is shown in discovery, a district court may issue “an
23   order which justice requires to protect a party or person from annoyance, embarrassment,
     oppression, or undue burden or expense.”
24                         Response in Opposition to Petition to Unseal

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 1           However, defense would like to point out that Mr. Mosby’s request to
 2
      unseal such exhibits is an end-run around the appropriate remedies he has
 3
      at his disposal under state law to pursue discovery, his motion to unseal is
 4
      simply an attempt for back-door access to discovery for his convenience.
 5

 6            2.   The character letters submitted to this Court in support of
 7                 Trina Welch at sentencing.

 8         The private details of Ms. Welch’s personal life and her relationships

 9   throughout the course of her lifetime provided at sentencing in character
10
     letters are non-dispositive to both Ms. Welch’s completed criminal trial as
11
     well as the discovery requests being manufactured in the civil case brought
12
     by Kasco at this time.
13
          The Ninth Circuit has reasoned that public policy does not support
14

15 unfettered access to non-dispositive materials as such evidence is often

16 “unrelated, or only tangentially related, to the underlying cause of action.”

17
     Kamakana, 447 F.3d at 1179 (citing Phillips v. General Motors Corp., 307
18
     F.3d 1209, 1213 (9th Cir. 2002)). The character evidence provided on behalf of
19
     Ms. Welch at sentencing is non-dispositive. Mr. Mosby reasons that the
20
     statements “will be very helpful […] to establish a basis for taking depositions
21

22 and engaging in further discovery”.     See ECF No. 95 at 2. This purpose for

23 gathering unspecific, future discovery in a civil matter is at best a back-door

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1 attempt to gain easy access to the personal details of Ms. Welch’s character

2
     and relationships in an attempt to probe in the dark in arguing for Mr.
3
     Welch’s civil liability in relation. Ms. Welch’s character is at best only
4
     tangentially related to Mr. Mosby’s underlying cause of action. The
5
     convenience of obtaining the requested exhibits and records for Mr. Mosby’s
6

7 discovery is not a basis for good cause.

8          Respectfully, the Court should make a finding that Mr. Mosby has not
9
     met the standard for “good cause.”
10
              3.   The Notice of claim of assets under forfeiture submitted by
11                 Normal Welch.
12         Defense counsel does not have knowledge of the Notice submitted by
13
     Norman Welch that was filed by his counsel, Gregory Rauch. Mr. Rauch was
14
     appointed CJA counsel to Norman Welch. As such, the request is outside the
15
     scope of defense counsel’s representation, and thus no position can be
16

17   articulated. Rather, Mr. Welch through his attorney, should be required to

18   articulate a position regarding the request to unseal this document.

19   Undersigned counsel and co-counsel Amy Rubin have reached out to Mr.
20
     Rauch on numerous occasions and received no response.
21

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1                                        Conclusion
2
          If the purpose of this Petition is to “obtain meaningful and relevant
3
     evidence in support of Kasco’s civil case” (ECF No. 95, at 2), there are
4
     appropriate remedies that Kasco’s counsel has not pursued through discovery
5
     and the power of subpoena provided through their state case. This Petition is
6

7 not one of them. Ms. Welch opposes Kasco’s Petition to unseal the character

8 statements from her sentencing, lacking good cause.

9

10
     Dated: November 4, 2022
11
                                           Respectfully Submitted,
12
                                           /s/ J. Stephen Roberts, Jr.
13
                                           J. Stephen Roberts, Jr., WA 45825
14                                         Attorneys for Trina Marie Welch
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1                           CERTIFICATE OF SERVICE
2         I hereby certify that on November 4, 2022, I electronically filed the
3
     foregoing with the Clerk of the Court using the CM/ECF System which
4
     will send notification of such filing to the following: Traci Jo Whelan,
5
     Assistant United States Attorney.
6
                                           /s/ J. Stephen Roberts, Jr.
7
                                           J. Stephen Roberts, Jr., WA 45825
8                                          Attorneys for Trina Marie Welch
                                           Federal Defenders of
9                                          Eastern Washington and Idaho
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